                 An official website of the United States government. Here's how you know. !
                                                                                         Case 4:19-cv-00655-BSM Document 201-21 Filed 05/19/22 Page 1 of 1



                                                                                                      Public Access To Court Electronic Records




                                                                                                     Billing History
                              BILLING HISTORY
                                                                                                     Detailed Transaction Report by Date
                                                                                                                     All
                                                                                                      from 07/01/2020 to 09/01/2020

                                                                                                                                             Plaintiff's Exhibit 16




                                                                                                              Billing Transactions
                                 Date                         Time              Pages                 Court                    Client Code        Description     Search           Cost
                                 07/03/2020
                                 07/03/2020                   04:44:53                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/03/2020                   04:45:21                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM START
                                                                                                                                                                  DATE:
                                                                                                                                                                  06/26/2020
                                 07/03/2020                   04:47:36                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/03/2020                   05:08:05                           4    AREDC                                       IMAGE5503-0     4:82-CV-00866-   $0.40
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5503-0
                                 07/03/2020                   05:13:24                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER

                                                                                                     Billing History                              SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/03/2020                   05:14:01                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/03/2020                   05:16:04                          13    AREDC                                       IMAGE5548-0     4:82-CV-00866-   $1.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5548-0
                                 07/03/2020                   05:18:57                           2    AREDC                                       IMAGE5549-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5549-0
                                 07/03/2020                   05:20:09                           2    AREDC                                       IMAGE5560-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5560-0
                                 07/03/2020                   05:21:57                           3    AREDC                                       IMAGE5562-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5562-0
                                 07/03/2020                   05:23:48                           2    AREDC                                       IMAGE5566-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5566-0
                                 07/03/2020                   05:24:51                           2    AREDC                                       IMAGE5568-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5568-0
                                 07/03/2020                   05:26:25                           6    AREDC                                       IMAGE5569-0     4:82-CV-00866-   $0.60
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5569-0
                                 07/03/2020                   05:26:28                          14    AREDC                                       IMAGE5569-1     4:82-CV-00866-   $1.40
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5569-1
                                 07/03/2020                   05:40:29                           7    AREDC                                       IMAGE5576-0     4:82-CV-00866-   $0.70
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5576-0
                                 Subtotal:                                                     147    pages                                       $14.70
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $14.70
                                 07/06/2020
                                 07/06/2020                   18:43:23                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-00655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/06/2020                   18:43:40                           5    AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                                  REPORT          BSM
                                 Subtotal:                                                       6    pages                                       $0.60
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.60
                                 07/07/2020
                                 07/07/2020                   06:49:48                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          458; CASE
                                                                                                                                                                  YEAR 2011;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:11-CV-458;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/07/2020                   06:50:10                          21    AREDC                                       DOCKET          4:11-CV-00458-   $2.10
                                                                                                                                                  REPORT          DPM
                                 07/07/2020                   06:52:38                           1    AREDC                                       IMAGE141-1      4:11-CV-00458-   $0.10
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  141-1
                                 Subtotal:                                                      23    pages                                       $2.30
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $2.30
                                 07/08/2020
                                 07/08/2020                   07:31:49                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   07:32:15                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   07:53:24                           1    AREDC                                       IMAGE5029-0     4:82-CV-00866-   $0.10
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5029-0
                                 07/08/2020                   07:56:16                           4    AREDC                                       IMAGE5021-0     4:82-CV-00866-   $0.40
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5021-0
                                 07/08/2020                   08:03:05                           7    AREDC                                       IMAGE5023-1     4:82-CV-00866-   $0.70
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5023-1
                                 07/08/2020                   08:04:04                           2    AREDC                                       IMAGE5023-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5023-0
                                 07/08/2020                   08:24:10                          30    AREDC                                       IMAGE5020-0     4:82-CV-00866-   $3.00
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5020-0
                                 07/08/2020                   08:39:00                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   08:43:17                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   09:17:50                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   09:18:56                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   09:27:16                          10    AREDC                                       IMAGE5063-0     4:82-CV-00866-   $1.00
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5063-0
                                 07/08/2020                   09:43:13                           2    AREDC                                       IMAGE5091-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5091-0
                                 07/08/2020                   09:45:17                           2    AREDC                                       IMAGE5089-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5089-0
                                 07/08/2020                   09:46:42                           6    AREDC                                       IMAGE5084-0     4:82-CV-00866-   $0.60
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5084-0
                                 07/08/2020                   09:56:35                           3    AREDC                                       IMAGE5087-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5087-0
                                 07/08/2020                   10:07:42                           6    AREDC                                       IMAGE5170-0     4:82-CV-00866-   $0.60
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5170-0
                                 07/08/2020                   10:41:31                           3    AREDC                                       IMAGE5206-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5206-0
                                 07/08/2020                   10:42:22                           1    AREDC                                       IMAGE5206-1     4:82-CV-00866-   $0.10
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5206-1
                                 07/08/2020                   10:48:52                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   10:49:12                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   11:07:57                           3    AREDC                                       IMAGE5253-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5253-0
                                 07/08/2020                   17:12:41                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   17:13:17                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   17:16:04                           3    AREDC                                       IMAGE5215-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5215-0
                                 07/08/2020                   17:31:57                           2    AREDC                                       IMAGE5292-1     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5292-1
                                 07/08/2020                   17:31:57                           3    AREDC                                       IMAGE5292-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5292-0
                                 07/08/2020                   17:32:00                           9    AREDC                                       IMAGE5292-2     4:82-CV-00866-   $0.90
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5292-2
                                 07/08/2020                   18:20:20                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/08/2020                   18:23:09                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/08/2020                   18:50:12                           1    AREDC                                       IMAGE5443-0     4:82-CV-00866-   $0.10
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5443-0
                                 07/08/2020                   18:50:13                           1    AREDC                                       IMAGE5443-1     4:82-CV-00866-   $0.10
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5443-1
                                 07/08/2020                   18:55:46                           4    AREDC                                       IMAGE5482-3     4:82-CV-00866-   $0.40
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5482-3
                                 Subtotal:                                                     289    pages                                       $28.90
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $28.90
                                 07/10/2020
                                 07/10/2020                   13:31:17                           2    AREDC                                       IMAGE21-0       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 21-
                                                                                                                                                                  0
                                 Subtotal:                                                       2    pages                                       $0.20
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.20
                                 07/13/2020
                                 07/13/2020                   15:33:40                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/13/2020                   15:34:02                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM START
                                                                                                                                                                  DATE:
                                                                                                                                                                  04/14/2020
                                 07/13/2020                   15:34:28                           2    AREDC                                       IMAGE5657-0     4:82-CV-00866-   $0.20
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5657-0
                                 07/13/2020                   15:35:39                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/13/2020                   15:36:12                           6    AREDC                                       DOCKET          4:82-CV-00866-   $0.60
                                                                                                                                                  REPORT          DPM START
                                                                                                                                                                  DATE:
                                                                                                                                                                  04/14/2020
                                 07/13/2020                   15:40:40                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM
                                 07/13/2020                   15:44:04                           4    AREDC                                       IMAGE3327-0     4:82-CV-00866-   $0.40
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  3327-0
                                 Subtotal:                                                      74    pages                                       $7.40
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $7.40
                                 07/20/2020
                                 07/20/2020                   17:21:21                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          866; CASE
                                                                                                                                                                  YEAR 1982;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:82-CV-00866;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/20/2020                   17:21:47                          30    AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT          DPM START
                                                                                                                                                                  DATE:
                                                                                                                                                                  07/21/2019
                                 07/20/2020                   17:22:20                           3    AREDC                                       IMAGE5651-0     4:82-CV-00866-   $0.30
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5651-0
                                 07/20/2020                   17:29:58                           1    00PCL                                       CIVIL CASE      ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          CASE NUMBER
                                                                                                                                                                  655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-00655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; PAGE: 1
                                 07/20/2020                   17:30:13                           5    AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                                  REPORT          BSM
                                 Subtotal:                                                      40    pages                                       $4.00
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $4.00
                                 07/23/2020
                                 07/23/2020                   12:02:40                           1    00PCL                                       CIVIL CASE      ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          CASE NUMBER
                                                                                                                                                                  655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; PAGE: 1
                                 07/23/2020                   12:02:58                           2    AREDC                                       DOCKET          4:19-CV-00655-   $0.20
                                                                                                                                                  REPORT          BSM
                                 Subtotal:                                                       3    pages                                       $0.30
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.30
                                 07/29/2020
                                 07/29/2020                   05:48:16                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 07/29/2020                   05:48:38                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 07/29/2020                   05:49:25                           1    AREDC                                       IMAGE26-0       4:19-CV-00655-   $0.10
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 26-
                                                                                                                                                                  0
                                 07/29/2020                   07:05:14                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 Subtotal:                                                      14    pages                                       $1.40
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $1.40

                                 08/13/2020
                                 08/13/2020                   09:12:05                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/13/2020                   09:12:26                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/13/2020                   09:13:08                           2    AREDC                                       IMAGE27-0       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  0
                                 08/13/2020                   09:13:09                          29    AREDC                                       IMAGE27-1       4:19-CV-00655-   $2.90
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  1
                                 08/13/2020                   09:13:10                           3    AREDC                                       IMAGE27-2       4:19-CV-00655-   $0.30
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  2
                                 08/13/2020                   09:13:10                           5    AREDC                                       IMAGE27-3       4:19-CV-00655-   $0.50
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  3
                                 08/13/2020                   09:13:11                           3    AREDC                                       IMAGE27-4       4:19-CV-00655-   $0.30
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  4
                                 08/13/2020                   09:13:12                          12    AREDC                                       IMAGE27-5       4:19-CV-00655-   $1.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  5
                                 08/13/2020                   09:13:12                           1    AREDC                                       IMAGE27-6       4:19-CV-00655-   $0.10
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  6
                                 08/13/2020                   09:13:13                          30    AREDC                                       IMAGE27-8       4:19-CV-00655-   $3.00
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  8
                                 08/13/2020                   09:13:13                           2    AREDC                                       IMAGE27-7       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  7
                                 08/13/2020                   09:13:15                           2    AREDC                                       IMAGE27-9       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  9
                                 08/13/2020                   09:13:16                           2    AREDC                                       IMAGE27-10      4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  10
                                 08/13/2020                   09:13:18                          11    AREDC                                       IMAGE27-11      4:19-CV-00655-   $1.10
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  11
                                 08/13/2020                   09:13:19                           1    AREDC                                       IMAGE27-13      4:19-CV-00655-   $0.10
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  13
                                 08/13/2020                   09:13:19                           3    AREDC                                       IMAGE27-12      4:19-CV-00655-   $0.30
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  12
                                 08/13/2020                   09:17:41                          30    AREDC                                       IMAGE28-0       4:19-CV-00655-   $3.00
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 28-
                                                                                                                                                                  0
                                 08/13/2020                   09:18:58                           6    AREDC                                       IMAGE29-0       4:19-CV-00655-   $0.60
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 29-
                                                                                                                                                                  0
                                 Subtotal:                                                     149    pages                                       $14.90
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $14.90
                                 08/15/2020
                                 08/15/2020                   21:04:47                           1    00PCL                                       CIVIL PARTY     ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          NAME ABADIE,
                                                                                                                                                                  CYNTHIA
                                                                                                                                                                  EXACT
                                                                                                                                                                  MATCHES ONLY;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; ALL
                                                                                                                                                                  COURTS
                                 08/15/2020                   21:05:30                           1    00PCL                                       CIVIL PARTY     ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          NAME ABADIE,
                                                                                                                                                                  CYNTHIA ;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; ALL
                                                                                                                                                                  COURTS
                                 08/15/2020                   21:07:18                           1    00PCL                                       CIVIL PARTY     ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          NAME PULASKI
                                                                                                                                                                  COUNTY
                                                                                                                                                                  SPECIAL
                                                                                                                                                                  SCHOOL
                                                                                                                                                                  DISTRICT;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; ROLE DEF;
                                                                                                                                                                  ALL COURTS
                                 08/15/2020                   21:08:40                           1    00PCL                                       CIVIL PARTY     ALL COURTS;      $0.10
                                                                                                                                                  SEARCH          NAME PCSSD;
                                                                                                                                                                  JURISDICTION
                                                                                                                                                                  CV; ROLE DEF;
                                                                                                                                                                  ALL COURTS
                                 08/15/2020                   21:41:42                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          356; CASE
                                                                                                                                                                  YEAR 2018;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:18-CV-356;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/15/2020                   21:42:15                           5    AREDC                                       DOCKET          4:18-CV-00356-   $0.50
                                                                                                                                                  REPORT          JM
                                 08/15/2020                   21:49:33                          19    AREDC                                       IMAGE16-0       4:18-CV-00356-   $1.90
                                                                                                                                                                  JM DOCUMENT
                                                                                                                                                                  16-0
                                 08/15/2020                   21:52:35                          11    AREDC                                       IMAGE17-0       4:18-CV-00356-   $1.10
                                                                                                                                                                  JM DOCUMENT
                                                                                                                                                                  17-0
                                 08/15/2020                   21:53:03                           9    AREDC                                       IMAGE18-0       4:18-CV-00356-   $0.90
                                                                                                                                                                  JM DOCUMENT
                                                                                                                                                                  18-0
                                 08/15/2020                   21:55:27                           1    AREDC                                       IMAGE19-0       4:18-CV-00356-   $0.10
                                                                                                                                                                  JM DOCUMENT
                                                                                                                                                                  19-0
                                 Subtotal:                                                      50    pages                                       $5.00
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $5.00
                                 08/19/2020
                                 08/19/2020                   13:15:43                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/19/2020                   13:15:55                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/19/2020                   13:16:32                           1    AREDC                                       IMAGE1-1        4:19-CV-00655-   $0.10
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 1-1
                                 08/19/2020                   13:17:31                          30    AREDC                                       IMAGE1-0        4:19-CV-00655-   $3.00
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 1-0
                                 Subtotal:                                                      38    pages                                       $3.80
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $3.80
                                 08/20/2020
                                 08/20/2020                   10:44:29                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/20/2020                   10:44:48                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/20/2020                   10:46:55                          30    AREDC                                       IMAGE16-3       4:19-CV-00655-   $3.00
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 16-
                                                                                                                                                                  3
                                 Subtotal:                                                      37    pages                                       $3.70
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $3.70
                                 08/21/2020
                                 08/21/2020                   18:08:24                          13    AREDC                                       DOCKET          4:82-CV-00866-   $1.30
                                                                                                                                                  REPORT          DPM START
                                                                                                                                                                  DATE:
                                                                                                                                                                  08/22/2019
                                 08/21/2020                   18:09:20                           9    AREDC                                       IMAGE5600-0     4:82-CV-00866-   $0.90
                                                                                                                                                                  DPM
                                                                                                                                                                  DOCUMENT
                                                                                                                                                                  5600-0
                                 Subtotal:                                                      22    pages                                       $2.20
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $2.20
                                 08/23/2020
                                 08/23/2020                   16:46:54                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/23/2020                   16:47:35                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/23/2020                   16:48:07                           2    AREDC                                       IMAGE27-0       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  0
                                 Subtotal:                                                       9    pages                                       $0.90
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.90
                                 08/24/2020
                                 08/24/2020                   04:16:36                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          356; CASE
                                                                                                                                                                  YEAR 2018;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:18-CV-356;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/24/2020                   04:16:47                           5    AREDC                                       DOCKET          4:18-CV-00356-   $0.50
                                                                                                                                                  REPORT          JM
                                 08/24/2020                   04:18:15                          19    AREDC                                       IMAGE16-0       4:18-CV-00356-   $1.90
                                                                                                                                                                  JM DOCUMENT
                                                                                                                                                                  16-0
                                 Subtotal:                                                      25    pages                                       $2.50
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $2.50
                                 08/25/2020
                                 08/25/2020                   14:27:20                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/25/2020                   14:27:32                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/25/2020                   14:55:37                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 Subtotal:                                                       8    pages                                       $0.80
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.80

                                 08/31/2020
                                 08/31/2020                   17:20:01                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 08/31/2020                   17:20:45                           6    AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT          BSM
                                 08/31/2020                   17:21:19                           2    AREDC                                       IMAGE27-0       4:19-CV-00655-   $0.20
                                                                                                                                                                  BSM
                                                                                                                                                                  DOCUMENT 27-
                                                                                                                                                                  0
                                 08/31/2020                   17:22:48                           1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE      CASE NUMBER
                                                                                                                                                  SEARCH          655; CASE
                                                                                                                                                                  YEAR 2019;
                                                                                                                                                                  CASE NUMBER
                                                                                                                                                                  4:19-CV-655;
                                                                                                                                                                  OFFICE 4; CASE
                                                                                                                                                                  TYPE CV; PAGE:
                                                                                                                                                                  1
                                 Subtotal:                                                      10    pages                                       $1.00
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $1.00
                                 Grand Total:                                                  946    pages                                       94.60

                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  94.60




PACER FAQ                                                                                                     Privacy & Security                                                                        Contact Us

            This site is maintained by the Administrative Office of the                                                                                                                    PACER Service Center
            U.S. Courts on behalf of the Federal Judiciary.                                                                                                                                (800) 676-6856
                                                                                                                                                                                           pacer@psc.uscourts.gov
